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  7                          UNITED STATES DISTRICT COURT
  8                         CENTRAL DISTRICT OF CALIFORNIA
  9    DENISE KISH,                                      Case: 5:19-cv-02407-AB-SHK
 10                 Plaintiff,
 11       v.                                             Plaintiff’s Notice of Voluntary
                                                         Dismissal Without Prejudice
 12    STEIN MART, INC., a California
       Corporation; and Does 1-10,
 13                                                      Fed. R. Civ. P. 41(a)(1)(A)(i)
                    Defendants.
 14
 15            PLEASE TAKE NOTICE that Plaintiff Denise Kish, hereby
 16   voluntarily dismisses the above captioned action without prejudice pursuant
 17   to Federal Rule of Civil Procedure 41(a)(1)(A)(i).
 18            Defendant Stein Mart, Inc. has neither answered Plaintiff’s Complaint,
 19   nor filed a motion for summary judgment. Accordingly, this matter may be
 20   dismissed without an Order of the Court.
 21   Dated: April 14, 2020                   CENTER FOR DISABILITY ACCESS
 22
 23                                           By:     /s/ Phyl Grace
 24                                                   Phyl Grace
                                                      Attorneys for Plaintiff
 25
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                   Plaintiff’s Notice of Voluntary Dismissal Without Prejudice Pursuant to
                                 Federal Rule of Civil Procedure 41(a)(1)(A)(i)
